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                                 CAUSE NO. - - - - - - -

 DONALD BRAXTON, DONALD                            §         IN THE DISTRICT COURT OF
 MALLARD, INDIVIDUALLY                             §
 AND AS REPRESENTATIVE OF THE                      §
 ESTATE OF JERVIE MALLARD, SR.,                    §
 DECEASED,                                         §
   Plaintiff,                                      §
                                                   §
 vs.                                               §             HARRISCOUNTY,TEXAS
                                                   §
 UNION PACIFIC RAILROAD                            §
 COMPANY, PASTOR, BEHLING &                        §
 WHEELER, L.L.C., AND                              §
 ENVIRONMENTAL RESOURCES                           §
 MANAGEMENT SOUTHWEST, INC.,                       §
   Defendants.                                     §                   JUDICIAL DISTRICT

                          DECLARATION OF PHILIP B. BEDIENT

I, Philip B. Bedient, hereby declare as follows:

    1. I am a licensed professional engineer in the State of Texas and have been licensed in Texas
       since 1979. My state engineer's license number is 45626. I am knowledgeable and actively
       engaged in the practice of civil/environmental engineering in the State of Texas, including
       in the area of groundwater contamination. I am authorized to make this declaration. I make
       this declaration of my own personal knowledge, and if called as a witness herein, could
       and would competently testify to the matters asserted in this declaration. The opinions
       made herein are based on my knowledge, skill, experience, education, training and practice
       in the area of civil/environmental engineering, including in the area of groundwater
       contamination.

   2. The opinions expressed herein are based on my background, training, and experience as
      Texas licensed Professional Engineer and Professional Hydrologist with a B.S. Physics,
      University of Florida, Gainesville, Florida, 1969, M.S. Environmental Engineering,
      University of Florida, 1972 and Ph.D. Environmental Engineering Sciences, University of
      Florida, 1975 and as a Herman Brown Professor of Engineering - Civil and Environmental
      Engineering- Rice University - July 2001 to present; Professor - Environmental
      Engineering - Rice University - 1986 to 2001; Professor and Chair - Department of
      Environmental Science and Engineering, Rice University, Houston, Texas, 1992 - 1999;
      Associate Professor - Environmental Engineering - 1980 - 1986; Assistant Professor -
      Environmental Engineering - 1975 - 1980. (Ex. A-1, P. Bedient C.V.). I also have
      direct experience actively working on environmental contamination sites throughout the
      United States, including the state of Texas. Specifically, I have actively worked on
      numerous sites involving creosote contamination.



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3. I reviewed and referenced the following documents in forming this opinion:

     A Amended Party Status and Technical Comment Letter, Harris County Attorney, June
        18, 2020.
     B. TCEQ Regulatory Guidance. Risk-based management of NAPL. 2008. TCEQ
        Remediation Division. RG-366/TRRP-32.
     C. ERM and PBW reports submitted to the TCEQ
     D. Plaintiffs' Draft Petition

4. My understanding of the facts are that engineers from Defendants Environmental
   Resources Management Southwest, Inc. (ERM) and from Pastor, Behling & Wheeler, LLC
   (PBW) were retained by Union Pacific Railroad Company (UPRR) to provide engineering
   services in connection with the identification and remediation of creosote contamination at
   the UPRR site near Kashmere Gardens in east Harris County, known as the UPRR's
   Englewood Rail Yard, located at 4910 Liberty Road, Houston, Texas 77026 ("Rail Yard").
   This site was a creosote wood treatment plant operated by Union Pacific from at least 1950
   to 1985 and located in the Rail Yard. For decades, millions of gallons of creosote were
   heated in open air vats and ditches and dumped at the Rail Yard, which directly caused the
   contamination of Kashmere Gardens, including the Plaintiffs' properties (see Figure 1).
   For years Union Pacific and its consultants ERM and PBW failed to address, remediate,
   and/or warn of the real risks of creosote exposure. Soil samples and monitoring wells in
   the Rail Yard, Kashmere Gardens, and the Fifth Ward continue to test positive for unsafe
   levels of creosote and toxic chemicals. UPRR, under the guidance of ERM and PBM, has
   applied for permits through the Texas Commission on Environmental Quality ("TCEQ")
   to "clean up" portions of the creosote and toxic chemicals. However, Defendants' delays
   and half measures to remediate this problem directly caused the continued spread of an
   underground plume of creosote sludge known as a dense non-aqueous phase liquid
   ("DNAPL"). The heavy nature of the DNAPL causes it to sink into the ground and spread
   outward to the surrounding groundwater, soil, and air far beyond the property line of the
   Rail Yard. This process is ongoing and continuous.

5. Based on my understanding of the facts, and having reviewed the documents referenced
   herein, I have the following opinions.

6.   ERM and PBW engineers failed to develop and refine a conceptual site model that
     reasonably represented the key hydrogeologic f eatu res of the site, in order to develop
     an appropriate remediation plan

     Engineers from ERM and PBW have failed to develop a reasonably reliable Conceptual
     Site Model (CSM) that captures the key hydrogeologic features of the site and the major
     routes of chemical exposure to the adjacent community, i.e. Kashmere Gardens (Figure 1
     shows the location of this site and this adjacent community). Furthermore, these engineers
     also failed to update and refine their CSM as more data was collected that showed the need
     for such refinement. The development and refinement of a reasonably reliable CSM is a
     key step in the regulatory process, through either the federal Resource Conservation and
     Recovery Act (RCRA) or the state's Texas Risk Reduction (TRR) program. In modem




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           remediation engineering practice, the CSM should capture the important information about
           site contamination in a written or graphical form. Importantly, it should evolve as data are
           collected overtime. The CSM should also serve as a platform for systematically identifying
           and closing data gaps and moving the remediation processes forward. In the work of ERM
           and PBW, their CSM is static and does not appear to have changed to any degree since the
           mid-1990's, even though additional data was collected showing their CSM was not
           accurately representing the key hydrogeologic features of the site and exposure routes to
           the surrounding areas.

           As an example, the engineers' CSM was developed, and has been maintained, as a grossly
           oversimplified and incorrect representation of the site hydrogeology. In reports submitted
           to the Texas Council of Environmental Quality (TCEQ), ERM and PBW have
           characterized the subsurface at the site and adjacent areas as a "layered cake" with three
           distinct transmissive zones (termed A-TZ, B-TZ, and C-TZ) separated by distinct layers of
           clays and silty clays that are significantly less permeable (see Figure 2 showing the
           engineers' CSM and its distinct layers). This gross misrepresentation in their CSM
           remained, even after regular data collection of groundwater flow direction, potentiometric
           elevations and cone penetrometer testing (CPT) data showed at a minimum that the A-TZ
           and B-TZ zones are clearly connected by having the same potentiometric surface (see
           Figure 3 showing the same potentiometric elevations in zones A-TZ and B-TZ). The recent
           memo from Harris County also presents evidence of the site hydrogeology conflicting with
           these engineers' CSM representation, including that it is likely that all of these layers are
           connected, separated only by discontinuous stringers of less permeable materials 1. The
           absence of a more realistic CSM has been the responsibility of these 2 engineering firms
           for decades. The data is available, with over 100 monitoring wells (and associated well
           logs) having been installed at the site, as well as a large amount of CPT data. In modern
           engineering practice, this information would be used to construct and calibrate a
           scientifically sound Conceptual Site Model (CSM) of the hydrogeology of the site. As
           stated in the Harris County memo 2 , this would include visualization and mapping using
           common tools such as EarthVision TM or Rockware TM.

           In the absence of a reliable CSM of the subsurface, the key steps needed to understand how
           to close the site are severely hampered. These include the effectiveness of remedial
           decisions for site closure and assessing routes of exposure to the adjacent community.
           These tools and models are not new and represent the standard of care for sites with
           contaminated groundwater. The absence of a reasonably accurate and refined CSM
           supported by quantitative data from the beginning is a clear failure by these firms, which
           has continued for decades after this process began.

      7. Engineers from ERM and PBW failed to fully identify additional areas of potential
           contamination, such as the Englewood lntermodal Yard, in order to develop an
           appropriate remediation plan



1
    Amended Party Status and Technical Comment Letter, Harris County Attorney, June 18, 2020, page 3
2
    Amended Party Status and Technical Comment Letter, Harris County Attorney, June 18, 2020, page 4




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         In the RCRA and TRR process, identification of additional areas of investigation should
         occur as the site process progresses and new information becomes available, particularly
         on complex sites like this one. These additional areas fall into 2 categories: locations where
         solid wastes were known to be stored and used (i.e. solid waste management units or
         SWMU s), and areas impacted by releases of solid wastes, but not places where solid wastes
         were known to be stored (i.e. areas of concern or AOCs). However, here we do not see any
         change in the site process when the SWMUs and AOCs were identified by ERM and PBW
         for the site.

         For example, the recent Harris County memo draws attention to the large area to the south,
         the Englewood Intermodal Yard 3. Historical aerial imagery (1944, 1953, and 1978) shows
         the presence of a number of areas of additional interest, including 3 large aboveground
         storage tanks (ASTs) in the Englewood Intermodal Yard (see Figure 4 showing aerial
         imagery of these ASTs). Past non-aqueous phase liquid (NAPL) detections and waste
         seeps in this area, identified in reports from ERM and PBW, showed contamination in this
         area. The inability of these engineering firms to identify the Englewood Intermodal Yard
         as a SWMU (or subdividing this area into some combination of SWMUs and AOCs) is an
         obvious error in site management. By not initiating investigation in the Yard, this area is
         not formally identified as a SWMU or AOC, and any cleanup progress in this area would
         not appear in the specific reporting requirement, i.e., the Affected Property Assessment
         Report, that informs the public on the progress of clean-up.

    8.   Engineers from ERM and PBW have failed to characterize, assess and develop a plan
         to mitigate dense non-aqueous phase liquids (DNAPL) at the site as required by TRR

         Risk-based NAPL guidance prepared by TCEQ outlines the steps required to assess and
         mitigate these contamination sources 4 . These include management provisions to abate
         explosive conditions, to prevent or stabilize the migration of NAPL zones, to abate
         aesthetic impacts or nuisance conditions, and to abate the toxic threat to human or
         ecological receptors, due to the contact ofNAPL with Class 2 groundwater and the contact
         of NAPL with soil gases. ERM and PBW have failed to assess and develop a plan to
         mitigate NAPL at the site according to the requirements of the TRR. Specifically, these
         engineering firms have:

         a. Failed to properly characterize the NAPL. Despite the knowledge of the presence of
            NAPL extending back to the late 1990's from the collection of soil borings and soil
            penetrometer testing, ERM and PBW have not performed even the most basic chemical
            and physical characterization of the NAPL at the site. This chemical and physical
            characterization is critical to determining the potential completion of exposure
            pathways to the adjacent community, both for the NAPL via the groundwater route and
            the NAPL via the soil gas route. Without this information, it was impossible to
            determine whether human health risks existed for the community in the -25 years since

3
 Amended Party Status and Technical Comment Letter, Harris County Attorney, June 18, 2020, page 2
4
 TCEQ Regulatory Guidance. Risk-based management of NAPL. 2008. TCEQ Remediation Division. RG-
366/fRRP-32




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               NAPL was identified on site. In some cases, while suspected NAPL was identified by
               CPT-ROST techniques at certain depths, chemical characterization samples were only
               taken at other depths in the soil profile, completely avoiding the characterization of the
               NAPL zones 5 . While the assumption is that all of the NAPL is dense creosote, based
               on historical land use, the presence of other NAPL sources on the site (e.g. naptha,
               extenders such as Bunker C, gasoline, diesel, other oils) is documented in site
               information. In addition, the weathering of the creosote NAPL in the vadose and
               saturated zone over the years since spillage is evidence that NAPL characterization
               should have been a key first step. Even under the most basic rule of thumb, that NAPL
               is suspected when compounds are present at> I% of water solubility, there is a total
               absence     of the        characterization    of NAPL         m the        site   record.

           b. Failed to systematically assess the presence and migration of NAPL across the site.
              While ERM and PBW have collected a significant amount of data on the presence of
              NAPL at the site, there is no evidence from the reports prepared by these engineering
              firms of any consistent, systematic effort to characterize the presence and migration of
              NAPL. These steps include identifying the NAPL contaminated zones in 3-dimensions
              across the site, assessing their change over time, and determining their mode of
              migration and release to other media. This is critical to assess the potential for
              completion of exposure pathways to the adjacent community. While some maps have
              been prepared of 2-D transects capturing the presence ofNAPL at the northeastern and
              western property boundaries 6 (see Figure 5 showing NAPL at property boundaries and
              beyond), the interpretation presented is contradictory. For example, while on the one
              hand these engineers are opining that carbonate seams in the subsurface may be
              effective mitigators for DNAPL spread, there is another document at the same time
              showing the migration of DNAPL deeper in the subsurface, indicating that these
              carbonate seams are not effective mitigators for DNAPL spread. There are several
              references in recent documents to pilot studies on DNAPL recovery at this site, but no
              engmeenng        details      are    m        the     public      record    to     date.

           c. Failed to develop a plan to mitigate NAPL migration from occurring. To date, I am
              unaware that a remediation plan for the NAPL across the site and beyond has been
              initiated. Migration of DNAPL has likely continued during this period of inaction, both
              vertically into the saturated zone and through the vadose zone in the soil gas.
              Remarkably, no soil gas surveys have been performed at the site by these firms despite
              the documented presence of NAPL in the upper unsaturated (vadose) zone. As the
              Harris County memo recommends, this survey of soil gas should be conducted as soon
              as possible. Establishing the magnitude of these releases is important in order to
              develop a plan of the remedial approach to be taken, and to determine what types of
              controls would need to be built and maintained to prevent exposures to the community.
              But the delay in addressing this route of exposure over these many years has created
              exposures that have already occurred to the adjacent property owners. These type of
              emissions from surface soils are most harmful since they impact the air in the adjacent


5
    Amended Party Status and Technical Comment Letter, Harris County attorney, June 18, 2020, page 3-4
6
    Amended Party Status and Technical Comment Letter, Harris County attorney, June 18, 2020, Figure 10




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        community. The inaction by these firms has contributed to these past and still ongoing
        exposures.

9.   Even though adjacent properties were impacted by the offsite movement of
     contamination, ERM and PBW failed to establish the full extent of community
     impacts or develop actions to completely stop those releases

     Adjacent properties in the Kashmere Garden neighborhood have been impacted by various
     releases from the site. These include exposures from contaminated water and vapors from
     contaminated soil, subsoil and groundwater originating from DNAPL migration and
     chronic releases of individual chemicals from the site. These impacts are still ongoing due
     to the inability of these engineering firms to fully delineate and then develop and
     implement a plan to stop these releases. Affected property maps have been prepared as
     part of the TRR program (see Figure 6 showing Affected Properties). These maps
     acknowledge the movement of contaminant plumes in the A- and B- transmissive zones
     (A-TZ and B-TZ) to the north and northeast beyond the site property boundaries and under
     existing residences. Contaminants in these plumes are also potentially being intercepted by
     a sewer line or abandoned stream channel taking them even further to the northeast, which
     will facilitate their further movement into the community. The full understanding of these
     impacts is limited because of these engineers' overly simplistic and inaccurate analysis of
     the subsurface characteristics, as described above.

     These Affected Property Maps also indicate impacted soil and subsoil, though, to date, the
     impacted area is only considered to be onsite (Figure 6). Yet details of individual
     compounds show how limited the offsite effort has been to identify their presence and
     extent (Figure 6). These include only a few data points directly along the fence line and a
     few along the proposed groundwater flow path. DNAPL movement, impacting the soil and
     subsoil, will not necessarily follow groundwater flow paths, so focusing solely on those
     areas is insufficient. The ongoing impacts on soil and subsoil are yet unknown and won't
     be understood until DNAPL is delineated. Diagrams representing the CSM, recently
     prepared, acknowledge the movement of DNAPL into the neighborhood (Figure 6),
     though the extent of migration, the ongoing rate of DNAPL migration and the impacts on
     soil gases are unknown.

     The CSM and the Affected Property Maps produced to date (Figures 2 and 6, respectively)
     acknowledge that the contaminants have left the property, both in the DNAPL and in
     dissolved form. Despite the engineering failures described above and in the memo from
     Harris County, the movement of contamination into the community is not disputed. While
     this should have created a sense of urgency to fully delineate the DNAPL extent and to
     mitigate those impacts on the community, an integrated response plan remains undefined.
     The work of these engineering firms were in partnership with UP in slow-walking this
     cleanup over decades. This is despite reliable delineation techniques and remedies that
     were available and applied at other sites. Certainly, unnecessary contaminant exposures to
     the community occurred during this time.




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    My name is Dr. Philip B. Bedient. My date of birth is Jan. 13, 1948, and my work address
is Rice University/MS -317, 6100 Main Street, Houston, Texas 77005. I declare under penalty
of perjury that the facts stated in this document are true and correct.

Executed in Harris County, State of Texas, on May 19, 2021.




                                                       Philip P. Bedient

                                                       May 19, 2021




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Figure 1. Location Map of Site, Plaintiffs and Surrounding Communities




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Figure 2. CSM showing "Layered Cake" Hydrogeology Under Site




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Figure 3. Similar Piezometric Water Elevations in Zones A-TZ (top) and B-TZ (bottom)




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Figure 4. 1944 Aerial showing Above-Ground Storage Tanks in Englewood Intermodal Yard




Figure 5. Observed NAPL Thickness in the Vadose Zone in and around Site




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                                                                                       January 2020
                                  Philip B. Bedient, Ph.D., P .E.
                                        Curriculum Vitae


ADDRESS:
     Chair & Herman Brown Professor of Engineering
     Department of Civil and Environmental Engineering
     Rice University/MS - 317
     6100 Main St. / Houston, Texas 77005
     (713) 348-4953 or fax (713) 348-5239
     Email - bedient(d;;rice edu

       P.B. Bedient and Associates, Inc.
       13910 Wilde Forest Court
       Sugar Land, TX 77498

EDUCATION:
     B.S. Physics, University of Florida, Gainesville, Florida, 1969
     M.S. Environmental Engineering, University of Florida, 1972
     Ph.D. Environmental Engineering Sciences, University of Florida, 1975

PROFESSIONAL EXPERIENCE:
     Chair - Department of Civil and Environmental Engineering, Rice University, Houston, TX -
     July 2019 to present
     Herman Brown Professor of Engineering - Civil and Environmental Engineering - Rice
     University - July 2001 to present.
     Professor - Environmental Engineering - Rice University - 1986 to 2001.
     Professor and Chair - Department of Environmental Science and Engineering, Rice University,
     Houston, Texas, 1992 - 1999.
     Associate Professor - Environmental Engineering - 1980 - 1986.
     Assistant Professor - Environmental Engineering - 1975 - 1980.

SCIENTIFIC SOCIETIES:
     American Society of Civil Engineers
     American Institute of Hydrology
     American Water Resources Association
     Association of Environmental Engineering Professors
     American Academy of Water Resources Engineers
     American Geophysical Union

HONORS:
    Diplomate - Water Resources Engineer, American Academy of Water Resources Engineers
    (2008)
    C.V. Theis Award from the American Institute of Hydrology (April 2007)
    Fellow - American Society of Civil Engineers (April, 2006)
    Endowed Chair - Herman Brown Professor in Engineering (July, 2001)
    Shell Distinguished Chair in Environmental Science (1988-93)
    Phi Beta Kappa

PROFESSIONAL COMMITTEES:
     Expert Panel - "Impacts of Climate Change on Transportation Systems and Infrastructure in the
         Gulf Coast" USDOT and USGS, 2005 - 2006
     TS Allison Recovery Project - Technical Advisory Committee - 2002-2003
     Harris County Flood Control District - Brays Bayou Federal Project Com - 1998- 2002
     National Academy of Engineers (National Research Council)

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        Committee on DoE Environmental Management Technologies (CEMT) - 1995-96
        Committee on In-Situ Bioremediation - 1992-93

UNIVERSITY COMMITTEES:
     Dean Review Committee - Department of Architecture, 2019
     Undergraduate Curriculum Committee, 2005-2019
     Accreditation (ABET/SACS) Committee, 2005-2019
     Events and Reception Committee (Chair) 2012
     Mentorship Committee 2012
     Space Planning Committee, 2005-2019
     CEE Student-Group Advisors 2012
     BSCE Advisor 2007-2019
     Center for Civic Engagement Committee, 2007-2012
     Parking Committee, 1998-2012
     Search Committee, Civil and Environmental Engineering, (2001-2002)
     Chair, Dean of Engineering Search Committee, (1988)
     Computer Committee, Athletics Committee, 1998-2000
     Advisory Council, School of Engineering,

LICENSES:
     Professional Engineer, State of Texas, Environmental Engineering (45626)
     Professional Hydrologist, American Institute of Hydrology

RESEARCH INTERESTS:

Flood & Surge Mitigation As the director of the Severe Storm Prediction Center (SSPEED) at Rice
       University (since 2007) Dr. Bedient leads a team of five universities and 15 investigators from
       Gulf Coast universities dedicated to improving storm prediction, education, and evacuation from
       disaster. The Center was approved by the Texas Legislature and has been funded at over $9.0
      million for 8 years from the Houston Endowment (Hurricane Ike Lessons Learned and Future
       Steps). A book, "Lessons from Hurricane Ike" was published by TAMU press in June 2012. The
       SSPEED Center has taken a unique approach to surge mitigation by addressing in bay residual
       surge impacts related to hurricanes in the Gulf.

Flood Alert Systems with Radar - The development of a real-time flood ALERT system (FAS4) for
       Brays Bayou and the Texas Medical Center in Houston, TX has been completed. The FAS4
       currently uses NEXRAD radar for application to flood prediction and real-time flood alert
       systems. TMC, FEMA, and TXDOT funded FAS improvements from 1998 thru 2010. Analysis
       of the severe storm impacts in urban watershed areas has been completed using radar rainfall
       data, combined with GIS techniques for digital terrain and hydraulic modeling in Houston and
       other coastal areas in Texas. The system worked perfectly during Harvey in Houston.

Flood Analysis and Mapping - Monitoring and modeling of radar rainfall and associated hydrology
       using standard models such as HEC-HMS and HEC-RAS as well as distributed models such as
       VFLO (VAi). These models have been used to model watersheds all over the U.S. and in flood
       related legal cases. These models are currently being used for assessing impacts from Hurricane
       Harvey, the largest measured rainfall in U.S. history over a 5 day period.

Hazardous Waste Site Evaluation - Monitoring and modeling of waste plumes associated with 35
      hazardous waste sites nationally. Identification of extent of contamination, transport mechanisms,
      and control strategies. MODFLOW and RT3D modeling of transport and aquifer restoration
      using withdrawal-treatment and microbial degradation methods. Analysis of hazardous waste
      sites in California, Texas and Florida.


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COURSES and STUDENTS:
  • CEVE 412 - Hydrology and Watershed Analysis
  • CEVE 512 - Hydrologic Design Laboratory
  • CEVE 101 - Fundamentals of Civil and Environmental Engineering
  • CEVE 415/515 - Water Resources Planning and Management (50%)
  • 20 Ph.D. and 70 M.S. degrees since 1975

RESEARCH STATEMENT:

        Dr. Philip B. Bedient is also Herman Brown Professor of Engineering in the Dept of Civil and
Environmental Engineering at Rice University. He teaches and performs research in surface and ground
water hydrology, disaster management, and flood prediction systems. He served as Chair of
Environmental Engineering from 1992 to 1999. He has directed 60 research projects over the past 42
years, has written over 180 articles in journals and conference proceedings. He is lead author on a text on
"Hydrology and Floodplain Analysis" (Prentice Hall, 6th ed., 2018, to appear) used in over 75
universities across the U.S. Dr. Bedient received the Herman Brown endowed Chair of Engineering in
2002 at Rice University. He was elected to Fellow ASCE in 2006 and received the prestigious C.V. Theis
Award from the American Institute of Hydrology in 2007. He earlier received the Shell Distinguished
Chair in Environmental Science (1988 to 1993).

        He is the director of the Severe Storm Prediction Center (SSPEED) at Rice University (since
2007) consisting of a team of seven universities and 15 investigators from Gulf coast universities
dedicated to improving storm prediction, education, and evacuation from disaster. The Center was
approved by the Texas Legislature and is currently funded by the Houston Endowment (Hurricane Ike
Lessons Learned and Future Steps). A book has been developed and published by TAMU press titled
"Lessons from Hurricane Ike" published in June 2012. The SSPEED Center has taken a zone approach to
developing mitigation strategies and has identified four zones of interest in the Houston-Galveston region:
the Houston Ship Channel, West Bayshore, Galveston Island and a Coastal Recreation Area.

        Dr. Bedient has over 40 years of experience working on flood and flood prediction problems in
the U.S. He has evaluated flood issues in Texas, California, Florida, Louisiana, and Tennessee. He has
worked on some of the largest and most devastating floods to hit the U.S. including the San Jacinto River
flood of 1994, T.S. Frances in 1998, T.S. Allison in 2001, Hurricane Katrina in 2005, Hurricane Rita in
2005, Hurricane Ike in 2008, and the Nashville, TN flood of 2010. He is currently involved in the
analyzing three major floods in Houston, 2015, 2016, and Harvey in 2017. He routinely runs computer
models such as HEC-HMS, HEC-RAS, SWMM, and VFLO for advanced hydrologic analysis. He
developed one of the first radar based rainfall flood alert systems (FAS-3) in the U.S. for the Texas
Medical Center.

        The SSPEED Center has put on a number of conferences, meetings, and training courses since
2007. Prominent national speakers have been invited to these conferences, which include attendees from
academia, industry, consulting, and emergency managers. These conferences provide a forum for public
discussion and response for decision and policy makers, and stakeholders. As a result of this work, we
have received a large number of Rice News stories over the past several years, in the form of both video
interviews with the media as well as newspaper coverage.

    Dr. Bedient has been involved in the technology transfer area for more than two decades through the
teaching of short courses for government, university, and private sectors. He has recently organized five
conferences on Severe Storm flooding and recovery projects in 2001, 2003, and 2005, 2006, and 2007 on
the Rice University campus. In 2008 he organized a new major conference on "Severe Storms Prediction
and Global Climate in the Gulf Coast" in October 2008 which hosted speakers who experienced first hand
the impacts of both hurricanes Katrina and Ike. SSPEED is now moving its research mission to address
post-Harvey impacts and had a conference in FEB 2018. (over 2500 media hits since Harvey).
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SURF ACE WATER PROJECT (since 1990)

   "Measuring, Mapping and Managing Flood Risk: A Pilot Program in Texas" - Texas A&M
   University, $160,000, January 2019 - December 2020

   "Cypress Creek Watershed Analysis of Flooding & Storage Options" - Greater Houston Flood
   Mitigation Consortium, $121,912, September 2018 -April 30, 2019

   "Greens Bayou Watershed Analysis and Resiliency Planning GHFMC Proposal" - Greater Houston
   Flood Mitigation Consortium, $233,088, August 2018 - November 2019

   "Center to Rebuild Texas" TAMU and the Governor's Office. $175,000, April 2018 -July 2019.

   "Analysis of Federal Project Residual Flood Areas" Greater Houston Flood Consortium, $130,000,
   Jan -Aug 2018.

   "FAS4 - Operational Support" - Texas Medical Center, $96,000 per year, Oct 2017 - present

   Flood Warning System for White Oak Bayou, funded by Kinder Inst at Rice U. $75,000 for 2017-18.

   "SSPEED Center Proposal to the Houston Endowment -- Environmental Studies of Various Gal Bay
   Surge Mitigation Strategies, 2017-2019", Houston Endowment, $1,000,000.

   Shell Center Award (Padgett and Bedient) -- $50,000 for one year. 2015-2016.

  NSF PIRE award "Coastal Flood Risk Reduction Program: Integreated, Multi-scale Approaches for
  Understanding how to Reduce Vulnerability to Damaging Events, (2015-2020), $100,000 per year for
  5 years shared with Jamie Padgett. (50%). (Dutch Exchange Program for students).

   Shell Center Award "Stress Nexus of Coastlines: Population Development, Infrastructure Security,
   and Morpohological Dynamics of the Upper Texas Gulf Coast" (2014-2016). With others ($20,000).

   "SSPEED Center Proposal to the Houston Endowment 2014-2017," Houston Endowment
   $3,200,000. Last year funding level of $500,000.

    "SSPEED Center Proposal to the Houston Endowment Coastal Integrated", Houston Endowment,
   2011-2014, $3,195,451

   "FAS3- Operational Support", Texas Medical Center, 2012-2017, $96,000 per year for 5 years.
   Supports the operation and research related to TMC Flood Alert System Analysis

   "Urban Resilience: Flooding in the Houston-Galveston Area", Kinder. 2009-2012, $240,003


   'White Oak Bayou BMP Demonstration Project - Cottage Grove Subdivision", City of Houston,
   2009-2013, $165,000.

  "Residential Storm Surge Damage Assessment for Galveston County", Texas General Land         Office
  (GLO), 2012-2013, $100,000


  "Rice University FEMA: Food Analysis", Rice, 2011-2012, $70,000


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"Amendment to Expand Development and Validation of the Online Storm Risk Calculator Tool for
Public Usage", City of Houston, 2011, $388,030


"Hurricane Ike: Lessons Learned and Steps to the Future", Houston Endowment, 2009-2012,
$1,250,000

"Libya AEL Training Grant", AECOM, 2008-2010. $1.7 million over 2 years.

"Texas OEM SSPEED Training" University of Texas, 2008, $90,000

"Watershed Information Sensing and Evaluation System". Houston Endowment (with UH), 2007-
2010, $400,000.

"Advanced Flood Alert System for the TXDOT for Bridge Control at 288". HGAC, 2007-2011
$200,000.

"Civil and Environmental Engineering for the 2l5t Century". NSF Dept Reform Grant, 2005-2007,
$100,000.

"CASA - Collaborative Adaptive Sensing of the Atmosphere - the Houston Testbed". NSF, 2003 -
2009, $110,000, ($90,000 for 2006-07).

"FAS2 - Operational Support", Texas Medical Center, 2003-2012, $69,000


"Flood Alert System (FAS2) for the Texas Medical Center and Brays Bayou". FEMA, 2002-2003,
$300,000.

"Multi-Purpose Water Management Technology for the Texas Mexico Border", Advanced
Technology Program, 2000-2001, $129,000.

"Analysis of Clear Creek Watershed," Galveston Bay Preservation Foundation, 1999-2000, $15,000.

"Flood Alert System - Maintenance and Support". Texas Medical Center, 1998-2002, $271,000.

"Flood Prediction System for the Texas Medical Center". Texas Medical Center, 1997-1998,
$262,000.

"The Effects of Changing Water Quality and Market Inefficiencies on Water Resource Allocation in
the Lower Rio Grande Valley". Energy and Environmental Systems Institute, Rice University, 1996-
1997, $12,000.

"Characterization of Laguna Madre Contaminated Sediments", Environmental Protection Agency,
1995, $68,500.

"Role of Particles in Mobilizing Hazardous Chemicals in Urban Runoff'. Environmental Protection
Agency, 1992-95, $240,000. (P. B. Bedient, Co-P.I.).

"Galveston Bay Characterization Report", Galveston Bay National Estuary Program, 1991-1992,
$35,000.

"Characterization of Non-Point Sources and Loadings to Galveston Bay". Galveston Bay National
Estuary Program, 1990-1991, $125,000.


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GROUNDWATER PROJECTS (SINCE 1990)

  "A Large-Scale Experimental Investigation of the Impact of Ethanol on Groundwater
  Contamination", (P.J.J. Alvarez - Co-P.I.) American Petroleum Institute, 2004-2007, $120,000.

  "A Large-Scale Experimental Investigation of Impact of Ethanol on Groundwater Contamination",
  Gulf Coast Hazardous Substances Research Center, 2004-2005, $45,000.

  "A Large-Scale Experimental Investigation of Impact of Ethanol on Groundwater Contamination",
  Gulf Coast Hazardous Substances Research Center, 2003-2004, $95,000.

  "Chlorinated Solvent Impact and Remediation strategies in the Dry Cleaning Industry", Gulf Coast
  Hazardous Substances Research Center, 2000 - 2003, $149,400.

  "Design Manual for the Extraction of Contaminants from Subsurface Environments", Environmental
  Protection Agency, 1994-2002, $4,500,000.

  "Development of Data Evaluation/Decision Support System for Bioremediation of Subsurface
  Contamination", Environmental Protection Agency, 1993-1996, $450,000.

  Shell Distinguished Chair in Environmental Science, Shell Oil Company Foundation, 1988-1993,
  $750,000.

LIST OF HAZARDOUS WASTE SITE PROJECTS (since 2000)

  2001 The Dickson County Landfill, Dickson, TN

  2002 Celanese Engineering Resins, Inc., Bishop, TX

  2002 GB Biosciences, Houston, TX

  2003 DOW Plaquemine, LA

  2004 Ciba-Geigy, McIntosh, AL

  2004 Amoco, Independence, MO

  2004 Olin-Geigy, McIntosh, AL

  2006 Crazy Horse Landfill, Monterey County, CA

  2008 Mid-Valley Sanitary Landfill, Rialto, CA

  2010 Pratt-Whitney, West Palm Beach, FL

  2013 Monsanto, Mystic River, MA

  2013 San Jacinto River Waste Pits, San Jacinto River, TX

  2015 LCP Chemicals Site, Brunswick, GA

  2015 North Carolina Steam Stations, NC

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PUBLICATIONS AND PRESENT A TIO NS

  A. Books or Related Chapters


       1. Bedient, P. B. and Huber, W. C. (2018). "Hydrology and Floodplain Analysis", 6th Ed.
          Pearson, January 2018, 760 pages.

       2. Fang, Z., Sebastian A., and Bedient, P.B. 2014. ''Modern Flood Prediction and Warning
          Systems." Handbook of Engineering Hydrology: Fundamentals and Applications (Chapter 21 ),
          Vol. 1, Taylor & Francis Inc. ISBN-10: 1466552417.

       3. Bedient, P. B. and W. C. Huber, 2012, "Hydrology and Floodplain Analysis", 5th Ed.
          Prentice-Hall Publishing Co., Upper Saddle River, NJ, February 2012, 800 page textbook.

       4.   Bedient, P. B., 2012 "Lessons learned from Hurricane Ike" Ed. Philip Bedient. College
            Station, TX: Texas A&M University Press, College Station, TX: 2012, 194 Pages

       5.   Rifai H.S., Borden RC., Newell C.J. and Bedient P.B., " Modeling Remediation of
            Chlorinated solvent plumes" In Situ Remediation of Chlorinated solvent Plumes, Chapter 6,
            H.F. Stroo, C.H. Ward Editors, Springer, N.Y. 2010, 145 pp.

       6.   Fang, Z., Safiolea, E., Bedient, P.B. (2006) "Enhanced Flood Alert and Control Systems for
            Houston." In Chapter 16, Coastal Hydrology and Processes, Ed. By Vijay P. Singh and Y. Jun
            Xu, Water Resource Publications, LLC, pp. 199-210

       7.   Capiro, N.L. and Bedient P.B. "Transport of Reactive Solute in Soil and Groundwater" The
            Water Encyclopedia (2005): 524-531.

       8. Horsak, RD., Bedient, P.B., Thomas, F.B., and Hamilton, C. "Pesticides", Environmental
          Forensics (2005).

       9.   Thompson, J.F. and Bedient, P.B. "Urban Storm Water Design and Management," The
            Engineering Handbook, Chapter 94, CRC Press, 2004, 21 pp.

       10. Bedient, P. B., Rifai H. S., and Newell C. J., "Ground Water Contamination: Transport and
           Remediation", 2 nd Ed. PTR Puhl., Upper Saddle River, NJ, 1999, 605 pages.

       11. Charbeneau, R J., Bedient, P. B. and Loehr R C., "Groundwater Remediation", Technomic
           Publishing Co., Inc., Lancaster, PA 1992, 188 pages.


  B. Peer Reviewed Journal Publications (since 1990 out of a total of 165)

   1. Gori, A., Gidaris, I., Elliott, J., Padgett, J., Loughran, K., Bedient, P., Panakkal, P., and Juan, A.
      "Accessibility and Recovery Assessment of Houston's Roadway Network due to Pluvial Flooding
      during Hurricane Harvey." Natural Hazards Review, Vol. 21, Issue 2 (2019/May). DOI:
      doi: 10.1061/(ASCE)NH.1527-6996.0000355

  2.    Gori, A., Blessing, R, Juan, A., Brody, S., & Bedient, P. "Characterizing urbanization impacts on
        floodplain through integrated land use, hydrologic, and hydraulic modeling." Journal of
        Hydrology, 568(2019/January): 82-95. DOI: 10.1016/j.jhydrol.2018.10.053


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3. Bernier, C., Kameshwar, S., Elliott, J. R., Padgett, J. E., & Bedient, P. B. (2018). Mitigation
   strategies to protect petrochemical infrastructure and nearby communities during storm surge.
   Natural Hazards Review, 19(4) doi: 10.1061/(ASCE)NH.1527-6996.0000309

4. Bass, B., Torres, J.M., Irza, J. N., Proft, J., Sebastian, A., Dawson, C., & Bedient, P. (2018).
   Surge dynamics across a complex bay coastline, Galveston bay, TX. Coastal Engineering, 138,
   165-183. doi: 10.1016/j .coastaleng.2018.04.019

5. Bass, B., & Bedient, P. (2018). Surrogate modeling of joint flood risk across coastal watersheds.
   Journal of Hydrology, 558, 159-173. doi: 10.1016/j .jhydrol.2018.01.014

6. Anarde, K. A., Kameshwar, S., Irza, J. N., Nittrouer, J. A., Lorenzo-Trueba, J., Padgett, J.E., ...
   Bedient, P. B. (2018). Impacts of hurricane storm surge on infrastructure vulnerability for an
   evolving coastal landscape. Natural Hazards Review, 19(1) doi:10.1061/(ASCE)NH.1527-
   6996.0000265

7. Brody, S. D., Sebastian, A., Blessing, R., & Bedient, P. B. (2018). Case study results from
   southeast Houston, Texas: Identifying the impacts of residential location on flood risk and loss.
   Journal of Flood Risk Management, 11, Sl 10-Sl20. doi: 10.l l l l/jfr3.12184

8. Bernier, C., Elliott, J. R., Padgett, J. E., Kellerman, F., & Bedient, P. B. (2017). Evolution of
   social vulnerability and risks of chemical spills during storm surge along the Houston Ship
   Channel. Natural Hazards Review, 18(4) doi: 10.1061/(ASCE)NH.1527-6996.0000252

9. Torres, J.M., Bass, B., Irza, J.N., Proft, J., Sebastian, A., Dawson, C., and Bedient, P (2017).
   Modeling the Hydrodynamic Performance of a Conceptual Storm Surge Barrier System for the
   Galveston Bay Region. J. of Waterway, Port, Coastal, and Ocean Engineering. DOI:
   10.1061/(ASCE)WW.1943-5460.0000389.

10. Bass, B., Juan, A., Gori, A., Fang, Z., and Bedient, P. (2016). 2015 Memorial Day Flood Impacts
    for Changing Watershed Conditions in Houston, TX. Natural Hazards Review. DOI:
    10.106 l/(ASCE)NH.1527-6996.000024 l.

11. Juan, A., Hughes, C., Fang, Z., and Bedient, P., 2016. Hydrologic Performance ofWatershed-
    scale Low Impact Development (LID) in a High Intensity Rainfall Region. Journal oflrrigation
    and Drainage Engineering, doi: 10.1061/(ASCE) IR.1943-4774.0001141.

12. Torres, J., Bass, B., Irza, N., Fang, Z., Proft, J., Dawson, C., Kiani, M., and Bedient, P (2015).
    Characterizing the hydraulic interactions of hurricane storm surge and rainfall-runoff for the
    Houston-Galveston          region.        Coastal       Engineering     106,      7-19.      DOI:
    http://dx.doi.org/l 0.1016/j .coastaleng.2015 .09 .004.

13. Juan, A, Fang, Z., and Bedient, P.B. "Developing a Radar-Based Flood Alert System for Sugar
    Land, Texas." Journal ofHydrologic Engineering (2015).

14. Brody, S.D., Sebastian, A., Blessing, R., & Bedient, P.B. (2015). Case-study results from
    southeast Houston, Texas: Identifying the impacts of residential location on flood risk and loss.
    Journal of Flood Risk Management, (accepted for publication). doi: 10.l l l l/jfr3.12184

15. Fang, N., Dolan G., Sebastian, A., & Bedient, P.B. (2014). Case Study of Flood Mitigation and
    Hazard Management at the Texas Medical Center in the Wake of Tropical Storm Allison in 2001.
    ASCE Natural Hazards Review, 15(3). doi: 10.1061/(ASCE)NH.1527-6996.0000139.



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16. Christian, J, Fang, Z., Torres, J., Deitz, R. and Bedient, P.B. "Modeling the Hydraulic
    Effectiveness of a Proposed Storm Surge Barrier System for the Houston Ship Channel during
    Hurricane Events." Natural Hazards Review 16, no. 1 (2014): 04014015

17. Burleson, Daniel W., Hanadi S. Rifai, Jennifer K. Proft, Clint N. Dawson, and Philip B. Bedient.
    "Vulnerability of an industrial corridor in Texas to storm surge." Natural Hazards 77, no. 2
    (2015): 1183-1203.

18. Sebastian, A., Proft, J., Dawson, C., & Bedient, P.B. (2014). Characterizing hurricane storm surge
    behavior in Galveston Bay using the SWAN+ADCIRC model. Coastal Engineering, 88, 171-181.
    doi: http://dx.doi.org/10.1016/j .coastaleng.2014.03.002.

19. Brody, S.D., Blessing, R., Sebastian, A., & Bedient, P.B. (2014). Examining the impact ofland
    use/land cover characteristics on flood losses. Journal of Environmental Planning and
    Management, 57(8), 1252-1265. doi: 10.1080/09640568.2013.802228.


20. Brody, S.D., Blessing, R., Sebastian, A., and Bedient, P.B. (2013). "Delineating the Reality of
    Flood Risk and Loss in Southeast, TX." ASCE Natural Hazards Review, 14, 89-97.doi:
    10.1061/(ASCE) NH.1527-6996.000009 l.



21. Fang, Z., Sebastian A., and Bedient, P.B. 2014. "Modem Flood Prediction and Warning
    Systems." Handbook of Engineering Hydrology: Fundamentals and Applications (Chapter 21),
    Vol. I, Taylor&Francisinc. ISBN-10:1466552417.


22. Teague, A., J. Christian, and P. Bedient. (2013) "Use of Radar Rainfall in an Application of
    Distributed Hydrologic Modeling for Cypress Creek Watershed, Texas". Journal of Hydrologic
    Engineering. DOI: 10.1061/(ASCE) HE.1943-5584.000056.

23. Doubleday, G., Sebastian, A., Luttenschlager, T., and Bedient, P.B. (2013). "Modeling
    Hydrologic Benefits of Low Impact Development: A Distributed Hydrologic Model of The
    Woodlands, TX." Journal of American Water Resources, 1-13. doi: 10.1111/jawr.12095.

24. Christian, J., A. Teague, L. Duefias-Osario, Z. Fang, and P. Bedient, (2012). "Uncertainty in
    Floodplain Delineation: Expression of Flood Hazard and Risk in a Gulf Coastal Watershed."
    Journal of Hydrological Processes, doi: 10.1002/hyp.9360.

25. Ray, T., Stepinski, E., Sebastian, A., Bedient, P.B. (20ll)"Dynamic Modeling of Storm Surge
    and Inland Flooding in Texas Coastal Floodplain" ", Journal of Hydraulic Engineering, ASCE,
    Vol. 137, No.IO, October 2011, ISSN 0733-9429/2011/10-l 103-l l 10

26. Fang, Z., Bedient, P. B., and Buzcu-Guven, B. (2011). "Long-Term Performance of a Flood Alert
    System and Upgrade to FAS3: A Houston Texas Case Study". Journal of Hydrologic
    Engineering, ASCE Vol. 16, No. 10, October 1, 2011, ISSN 1084-0699/2011/10-818-828.
27. Teague, A., Bedient, P. and Guven, B. (2010). "Targeted Application of Seasonal Load Duration
    Curves using Multivariate Analysis in Two Watersheds Flowing into Lake Houston" (JAWRA-
    10-0003-P.Rl). Journal of American Water Resources Association. Accepted.

28. Fang, Z, Zimmer, A., Bedient, P. B, Robinson, H., Christian, J., and Vieux, B. E. (2010). "Using
    a Distributed Hydrologic Model to Evaluate the Location of Urban Development and Flood

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    Control Storage". Journal of Water Resources Planning and Management, ASCE, Vol. 136, No.
    5, September 2010, ISSN 0733-9496/2010/5-597-601.
29. Fang, Z., Bedient, P. B., Benavides J.A, and Zimmer A. L. (2008). "Enhanced Radar-based Flood
    Alert System and Floodplain Map Library". Journal of Hydrologic Engineering, ASCE, Vol. 13,
    No. 10, October 1, 2008, ISSN 1084-0699/2008/10-926-938.
30. Gomez, D. E., De Blanc, P. C., Rixey, W., Bedient, P.B., Alvarez, P. J.J. (2008), "Evaluation of
    Benzene Plume Elongation Mechanisms Exerted by Ethanol Using RT3D with a General
    Substrate Interaction Module" Water Resource Research Journal, Vol. 44, May.
31. Rifai, H.S., Borden, R C., Newell, C. J., and Bedient, P.B. "Modeling Dissolved Chlorinated
    Solvents in Groundwater and Their Remediation," in SERDP monograph on Remediation of
    Dissolved Phase Chlorinated Solvents in Groundwater, (accepted) 2007.
32. Bedient, P. B., Holder, A., and Thompson, J. F., and Fang, Z. (2007). "Modeling of Storm water
    Response under Large Tailwater Conditions - Case Study for the Texas Medical Center". Journal
    ofHydrologic Engineering, Vol. 12, No. 3, May 1, 2007.
33. Capiro, N.L., Stafford, B.P., Rixey, W.G., Alvarez, P.J.J. and Bedient, P.B. "Fuel-Grade Ethanol
    Transport at the Water Table Interface in a Pilot-Scale Experimental Tank" Water Research,
    41(3), pp. 656-654, 2007.
34. Bedient, P.B., Rifai, H.S., Suarez, M.P., and Hovinga, RM. "Houston Water Issues" Chapter in
    Water for Texas. Jim Norwine and J.R Giardino, Eds. pp. 107-121, 2005.
35. Characklis, G.W., Griffin, RC., and Bedient, P.B. "Measuring Long-term Benefits of Salinity
    Reduction" Journal of Agricultural and Resource Economics, 30 (1) (2005): 69-93.
36. Bedient, P.B., Horsak, RD., Schlenk, D., Hovinga, RM., and Pierson, J.D. "Environmental
    Impact on Fipronil to Louisiana Crawfish Industry" Environmental Forensics (2005): 289-299.
37. Characklis, G. W., Griffin, RC., and Bedient, P.B. "Measuring the Long-term Benefits of
    Salinity Reduction" Journal of Agricultural and Resource Economics, 30(1), pp.69-93, 2005.
38. Vieux, B.E. and Bedient, P.B. "Assessing urban hydrologic prediction accuracy through event
    reconstruction" Journal of Hydrology, 299(3-4), pp. 217-236. Special Issue on Urban Hydrology,
    2004.
39. Thompson, J.F. and Bedient, P.B. "Urban Storm Water Design and Management" The
    Engineering Handbook, Chapter 94, CRC Press, 2004, 21 pp.
40. Capiro, N.L. and Bedient P.B. "Transport of Reactive Solute in Soil and Groundwater" The
    Encyclopedia of Water, John Wiley and Sons, Inc., New York, NY, USA pp. 524-531, 2005.
41. Bedient, P.B., Holder, A., and Benavides, J. "Advanced Analysis of T.S. Allison's Impacts"
    submitted to Jn. of American Water Resources Assn., 2004.
42. Bedient, P. B., A. Holder, J. Benavides, and B. Vieux "Radar-Based Flood Warning System
    applied to TS Allison, ASCE Journal ofHydrologic Engineering, 8(6), pp 308-318, Nov, 2003.
43. Glenn, S., Bedient, P.B., and B. Vieux "Ground Water Recharge Analysis Using NEXRAD in a
    GIS Framework" submitted to Ground Water, October 2002.
44. Bedient, P.B., Vieux, B.E., Vieux, J.E., Koehler, E.R, and H.L. Rietz "Mitigating Flood Impacts
    of Tropical Storm Allison" accepted by Bulletin of American Meteorological Society, 2002.
45. El-Beshry, M., Gierke, J.S., and P.B. Bedient "Practical Modeling of SVE Performance at a Jet-
    Fuel Spill Site" ASCE Journal of Environmental Engineering pp. 630-638, (127) 7, July 2001.
46. El-Beshry, M.Z., Gierke, J.S., and P.B. Bedient "Modeling the Performance of an SVE Field
    Test" in Chapter 7, Vadose Zone Science and Technology Solutions, Brian B. Looney and
    Ronald W. FaltaEditors, Vol. II, pp. 1157-1169, (2000).

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47. Rifai, H.S., Brock, S.M. Ensor, K.B., and P.B. Bedient "Determination of Low-Flow
    Characteristics for Texas Streams" ASCE Journal of Water Resources Planning and Management,
    (126)5, pp.310-319, September-October 2000.
48. Bedient, P.B., Hoblit, B.C., Gladwell, D.C., and B.E. Vieux ''NEXRAD Radar for Flood
    Prediction in Houston" ASCE Journal ofHydrologic Engineering, 5(3), pp. 269-277, July 2000.
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   60. Hamed, M.M., Bedient, P.B., and J.P. Conte "Probabilistic Modeling of Contaminant Transport
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       Solutions '95", Edmonton, Canada, June 4-10, 1995.

Invited Lectures (Recent since 2000)

    1.   The Resilience and Adaptation to Climate Risks Workshop: NASA Johnson Space Center and the
         Houston/Galveston Area, March 8, 2012, Houston, Texas

   2. Bedient, P.B., SSPEED Conference. Chair and Organizer, "Hurricane Ike, Revisited," September
      14, 2009, Houston, Texas.

   3. Bedient, P.B., SSPEED Conference. Chair and Organizer, "Severe Storm Prediction and Global
      Climate Impact in the Gulf Coast," Sponsored by American Institute of Hydrology. October 29-
      31, 2008, Houston, Texas. (Attended by over 150 guests and speakers).

   4. Bedient, P.B., SSPEED Conference. Chair and Organizer, "Severe Storm Prediction and Global
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      31, 2008, Houston, Texas. (Attended by over 150 guests and speakers).

   5. Bedient, P.B., Robinson, and H., Fang, Z. (2008). "Distributed Hydrologic Model Development
      in the Topographically Challenging Yuna River Watershed, Dominican Republic". Meeting in
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   6. Bedient, P.B. (June, 2008) Plan for the Dominican Republic Flood Study, before the Ministers of
      Education, Environment, and Economic Development.
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7. Bedient, P.B. "Advanced Flood Alert Systems m Texas" International Disaster Response
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8. Bedient, P.B. "IP2 Flood Alert System for Houston" CASA Meeting NSF Review, UMASS.
   April, 2006.

9. Bedient, P.B. "Severe Storm Impacts in the Gulf Coast" Severe Storm Impacts and Disaster
   Response in Gulf Coast, Houston, Rice University, March 15-16, 2006.

10.       Bedient, P.B. "Living with Severe Storms in the Gulf Coast- Scientia Lecture" Rice
      University, Houston, TX. (September 2005).

11. Bedient, P.B., Fang, Z., Safiolea, E., and B.E. Vieux "Enhanced Flood Alert System for Houston"
    2005 National Hydrologic Council Conference: Flood Warning Systems, Technologies and
    Preparedness, Sacramento, California. (May 16-20)

12. Fang, Z. and Bedient, P.B. "Enhanced Flood Alert and Control Systems for Houston"
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    Hydrology and Water Quality. Baton Rouge, Louisiana, May 21-24, 2006.

13. Fang, Z., Bedient, P.B., and R. Hovinga "Prediction of Severe Storm Flood Levels for Houston
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    Spring Specialty Conference: GIS and Water Resources IV. Houston, Texas, May 8-10, 2006.

14. Bedient, P.B. "Impacts of Climate Change on Transportation Systems and Infrastructure" Gulf
    Coast Study, Lafayette, LA. (May 2005)

15. Capiro, N.L., Da Silva, M.L.B., Stafford, B.P., Alvarez, P.J.J., and P.B. Bedient "Changes in
    Microbial Diversity Resulting from a Fuel-Grade Ethanol Spill" Eighth International Symposium
    on In Situ and On-Site Bioremediation, Baltimore, MD. (June 2005).

16.       Safiolea, E. and P. B. Bedient "Assessment of the Relative Hydrologic Effect of Land Use
      Change and Subsidence Using Distributed Modeling" EWRl Watershed Management
      Conference, Williamsburg, VA. (July 9-22, 2005)

17. Capiro, N.L., Stafford, B., He, X., Rixey, W.G., and P.B. Bedient "A Large-Scale Experimental
    Investigation of Ethanol Impacts on Groundwater Contamination" Presentation at the Fourth
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